UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

Jane Doe
Plaintiff

vs. CIVIL CAUSE NO. 4:20-ev-01828

CoreCivic, Inc. £/k/a Corrections
Corporation of America; CoreCivic of
Tennessee, LLC; CoreCivic TRS, LLC;
CoreCivic, LLC; Prison Realty
Management, LLC; TransCor America,
LLC; Trinity Services Group, Inc. a/k/a
‘Trinity Corrections Services, Inc.; Robert
Lacy, Jr; David Price; Assailant 1;
Assailant 2; Assailant 3; and the United
States of America

JUDGE CHARLES ESKRIDGE

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Defendants

 

AFFIDAVIT OF JOSE SANCHEZ

 

1. My name is Jose Sanchez. I reside in Longview, Texas. Iam fully competent to
make this affidavit. I have personal knowledge of the following facts set forth in this
affidavit. The facts set forth herein are true and correct.

2. Tam an attorney licensed to practice before the courts in the State of Texas. I am
admitted to practice in the United States District Court, Southern District of Texas.

3. Tam the owner of my law firm, Jose Sanchez Law Firm, P.C., in Longview, Texas. I
have been practicing law for 19 years.

4. Tam designated as one of the attorneys who represents Plaintiff, Jane Doe, in this
litigation.

5. Iam the only attorney representing this Plaintiff who is fluent in both English and
Spanish.

6. On more than one occasion, I have explained to Plaintiff the nature of the requested
dismissal and its finality.

7, We have communicated to Plaintiff that if the requested relief is gtanted by this
Court, she will be unable to file this lawsuit or seek compensation for the incidents
alleged in the complaint in the future.

AFFIDAVIT OF JOSE SANCHEZ 1
8. Without waiving attorney-client privilege beyond the communication ordered to be
disclosed by the Court, I verify that the Plaintiff, Jane Doe, communicated to us that
she understands the ramifications and the finality of the telicf requested and
nonetheless requests that this case be dismissed with prejudice.

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SWORN TO AND SUBSCRIBED BEFORE ME ON THIS THE la DAY
OF Octinber __,2020, TO WHICH WITNESS MY HAND AND OFFICIAL

SEAL OF "On |

NOTARY PUBLIC I N AND FOR STATE OF TEXAS

  

   
 
 
  

 

 

SN nly, IRIS E. ALEJANDRO
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‘2= Comm. Expires 06-07-2022
BRS Notary ID 131597388
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My commission expites: Ole | O07 [2088

AFFIDAVIT OF JOSE SANCHEZ 2
